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                 IN THE UNITED STATES DISTRCT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA                 §
                                         §
VS.                                      § CASE NO. 4:18-MJ-00781
                                         §
VINCENT IKECHI NWABEKE                   §
                                         §

                         NOTICE OF APPEARANCE

      Defendant, VINCENT IKECHI NWABEKE gives notice to the Court that

Peyton Z. Peebles III will be appearing as co-counsel of record in the above styled

and numbered case.

DATED: May 21, 2018



                               Respectfully submitted,
                               /s/ Peyton Z. Peebles III

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                               VINCENT IKECHI NWABEKE


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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct of the above and foregoing was served
upon all parties via the CM/ECF system.

                                /s/ Peyton Z. Peebles III

                                PEYTON Z. PEEBLES III




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